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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION


CLAVORRIS SIBLEY                                    CASE NO. 2:16-CV-01759

VERSUS                                              JUDGE SUMMERHAYS

JOHN S CRAFT ET AL                                  MAGISTRATE JUDGE KAY


                                      ORDER OF DISMISSAL

          The Court having received notice that the parties to this action have agreed to settle their

claims,

          IT IS HEREBY ORDERED that this action shall be and is DISMISSED WITHOUT

PREJUDICE. No later than sixty (60) days of the date hereof, the parties shall file one of the

following: (a) a motion for entry of judgment on all claims; (b) a motion to reopen this matter and

reinstate all claims for failure to finalize the settlement agreement; or (c) a motion to enforce the

settlement agreement. The Court shall retain jurisdiction over this matter until such time as

compliance with this Order has been fulfilled. If the parties do not file one of the above motions

within sixty (60) days, the Order of Dismissal shall become a Final Judgment of Dismissal with

prejudice, each party to bear their own costs.

          THUS DONE in Chambers on this 10th day of June, 2019.




                                                               Robert R. Summerhays
                                                              United States District Judge
